      Case 6:12-cr-00011-LGW-CLR Document 100 Filed 10/12/12 Page 1 of 2




               UNITED STATES DISTRICT COURT
                                           20I2OCT 12 PM 2:t.3
               SOUTHERN DISTRICT OF GEORGIR77?)OOPJ
                                                                       fl\
                      STATESBORO DIVISION

UNITED STATES OF AMERICA )
                          )
V.                        )             Case No. CR612-011
                          )
LEQUITOR HOPIUNS          )
                                [$J1DJW

     Defendant Lequitor Hopkins has moved to reopen the detention

hearing based on new, previously unknown information -- that her aunt

is willing to post a bond secured by real property worth approximately

$60,000. After further consideration of the detention issue, the Court

concludes that the new information does not have a material bearing on

whether there are conditions of release that will reasonably assure her

appearance for further proceedings. Defendant was on supervised

release for a 2002 drug conviction in this Court at the time of the

offenses charged in the instant indictment. While the proposed property

bond is an additional fact in her favor, the Court remains unpersuaded

that a bond in this amount is adequate given defendant's utter disregard

for her prior obligations as a releasee and the near certainty of her
      Case 6:12-cr-00011-LGW-CLR Document 100 Filed 10/12/12 Page 2 of 2




conviction and lengthy prison sentence in the pending case. Her motion

is DENIED.

     SO ORDERED this /Zday of October, 2012.



                                        UNITEWISTATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
